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                                    1961
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                                    1962
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                                    1963
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                                    1964
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                                    1965
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                                    1969
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                                    1971
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                                    1972
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                                    1973
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                                    1974
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                                    2011
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                                    2013
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                                    2014
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                                    2015
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